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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.2
                                Eastern Division

Jefferson−Pilot Investments, Inc.
                                       Plaintiff,
v.                                                     Case No.: 1:10−cv−07633
                                                       Honorable Matthew F. Kennelly
Capital First Realty, Inc., et al.
                                       Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 10, 2011:


       MINUTE entry before Honorable Matthew F. Kennelly:Motion to approve
receiver's reports [103] is granted. Response to second amended complaint is to be filed
by 9/6/2011. (or, )




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